Case 3:24-cv-00038-MEM Document 1-1 Filed 01/09/24 Page 1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
Purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

JS 44 (Rev. 04/21)

VIRGINIA RICHTER

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

THE BALTIMORE LIFE INSURANCE COMPANY
County of Residence of First Listed Defendant
(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys f/f Known)
Sudhir R. Patel, Esquire - Fanelli, Evans and Patel, P.C.
4 Mahantonoo St. Pottsville. PA 179021 570-622-2455
II. BASIS OF J URISDICTION (Place an “X" in One Box Only) IH. CITIZENSHIP OF PRINCIPAL PA RTIES (Ptace an "x" in One Box for Plaintiff
(For Diversity Cases Only) and One Rox for Defendant)
(J) U.S. Government PTF PTF
Plainnift

[x]! C] 4

C 3 Federal Question

(ULS. Government Not a Party)

DEF

Oj!

DEF

O4
Cis [xs
Ce

Citizen of This State Incorporated or Principal Place

of Business In This State
[J2. US. Government
Defendant

[]4 Diversity
(Indicate Citizenship of Parties in Item III)

Citizen of Another State OJ2 02

Incorporated and Principal Place
of Business In Another State
Citizen or Subject of a oC 3 O 3 Foreign Nation

Foreign Country

Cle

IV. NATURE OF SUIT (pace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY P J625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability Cl 367 Health Care/ INTELLECTUAL 400 State Reapportionment
[_] 150 Recovery of Overpayment [7] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
— 151 Medicare Act || 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
132 Recovery of Defaulted Liability C 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation

Student Loans 340 Manne Injury Product 470 Racketeer Influenced and

A

1 ayy New Drug Application a
(Excludes Veterans) 345 Manne Product Liability 840 Trad k Corrupt Organizations

LJ 153 Recovery of Overpayment Liability PERSONAL PROPERTY LA H 880 Defend Trade Secrets | 480 Consumer Credit

_ of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)

|_| 160 Stockholders’ Suits — 335 Motor Vehicle - 371 Truth in Lending Act |] 485 Telephone Consumer

[] 190 Other Contract Product Liability LJ 380 Other Personal | 720 Labor/Management SOCIAL SECURITY. Protection Act

| 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV

|| 196 Franchise Injury OI 385 Property Damage 862 Black Lung (923) 850 Securities/Commadities!

et Railway Labor Act

751 Family and Medical
Leave Act

790 Other Labor Litigation

| 362 Personal Injury -
Medical Malpractice
CIVIL RIGHTS
440 Other Civil Rights

Product Liability

PRISONER PETITIONS

Habeas Corpus:

863 DIWC/DIWW (405(g)) [_
864 SSID Title XVI
865 RSI (405(g))

Exchange
890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters

REAL PERTY
210 Land Condemnation

LI

791 Employee Retirement

r 220 Foreclosure 441 Voting 463 Alien Detainee Income Secunty Act |_ FEDERAL TAX SUITS 895 Freedom of Information
|_} 230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act
|_| 240 Torts to Land 443 Housing’ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations $30 General l | 871 IRS—Third Party S 899 Administrative Procedure
C] 290 All Other Real Property | 445 Amer. w/Disabilities - 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities - 340 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 350 Civil Rights Actions State Statutes

|_| 448 Education $55 Prison Condition

360 Civil Detainee -
Conditions of
Confi

V. ORIGIN (Place an “¥" in One Box Only)
O! Original C2 Removed from oO 3
Proceeding State Court

Remanded from
Appellate Court

6 Multidistrict
Litigation -
Transfer

4 Reinstated or oO 5 Transferred from
Reopened Another District
(specify)
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes untexs diversity):
28 U.S.C. § 1332

Brief description of cause:
Insurance Bad Faith; Breach of Contract

[] CHECK IF THIS IS A CLASS ACTION

oO 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

VII. REQUESTED IN DEMAND § CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R-Cv.P. eee JURY DEMAND: Llyes [No
VII. RELATED CASE(S) __
IF ANY (re mstructions): nee DOCKET NUMBER
DATE = SIGNATURE OF NEY OF RECORD
(4/24 DLO
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

